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             EXHIBIT
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   UNITED STATES CONSUMER LAW

    ATTORNEY FEE SURVEY REPORT

                            2010-2011




                          Ronald L. Burdge
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                    United States Consumer Law
                Attorney Fee Survey Report 2010-2011

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  This work is dedicated to the private and public practice members of the
     Consumer Law bar across the United States and its territories who
 tirelessly dedicate their careers to helping consumers and businesses find
    justice every day in our legal system. Without their participation this
                  publication would not have been possible.


And a special thanks is extended to Ira Rheingold, Executive Director of the
 National Association of Consumer Advocates, and Jon Sheldon, with the
National Consumer Law Center, for their leadership, friendship, advice and
               tireless support of this project over the years.


                             Ronald L. Burdge
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                                 1. Introduction
      This report publishes the results of the United States Consumer Law
Attorney Fee Survey for 2010-2011. Attorneys in every state and the US
Territories took part in the national survey and the results are the most
comprehensive since our research work began on the subject in 1999.

      Consumer Law is recognized as a specialty area of law1 dealing with
issues arising from transactions involving one or more persons acting as
individuals or as a family. It typically includes the legal fields of
bankruptcy, credit discrimination, consumer banking, warranty law, unfair
and deceptive acts and practices, and more narrow topics of consumer law
such as consumer protection rights enabled by specific statutes such as the
Fair Credit Reporting Act, the Uniform Consumer Sales Practices Act, state
and federal lemon laws, and many others.

      Section 2 of this Survey Report is the Summary Profile of the Typical
US Consumer Law Attorney, a collective approach to the entire survey
results which yields a detailed picture of key aspects of the typical US
Consumer Law practitioner in the United States and its territories. It is
based on the survey results as a whole.

      Section 3 contains the National Average Table for All Firms and
reports the regional average hourly rates according to small and large firm
classification and including both attorney rates and paralegal rates. This
table gives a broad overview at a glance with easy side by side comparisons
of key data. It also allows the reader to see the relative survey participation
from each of the 12 surveyed regions.

      Section 4, the State Percentage Change Table, 2000 thru 2011,
reflects the state by state changes in hourly rate averages based on state
data. This section contrasts year 2000 rates, the first year of the survey
reports that were based on data compilation that began in 1999, with the
hourly rate averages in this year’s Survey Report. This table shows the


      1
        As said by the Ohio 9th District Court of Appeals, “[c]onsumer law is a specialty
area that is not common among many legal practitioners.” Crow v. Fred Martin Motor
Co., 2003-Ohio-1293 (Summit App. No. 21128).

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actual increases and decreases in hourly rates as well as the percentage of
change from oldest data to current data.

      Section 5 includes the Average Hourly Rates by Years in Practice
Tables by Region because years in practice is a primary factor in the
determination of a reasonable hourly rate. These tables report, on a
regional basis, the average hourly rates according to only the number of
years an attorney has been practicing law.

      Section 6, the Regional Median & Average Summaries Tables, reports
median and average analyses and the results of key survey questions on a
regional approach. Added scaling in these tables gives greater analysis
opportunities for the reader’s consideration. An explanation of terms in the
table precedes the actual Regional Median & Average Summaries Tables.

      Section 7 contains the Regional Summary Profiles analyses which
reports a summary profile of the typical Consumer Law attorney in each of
the 12 regions in the survey. It provides a collective approach to each
region’s survey results, which yields a more detailed summary picture of
key aspects of the typical US Consumer Law practitioner in each survey
Region.

      Prior studies have shown that the factors most influencing an hourly
rate are an attorney’s years in practice, location of practice, and size of firm.
These factors are variously surveyed and reported in this publication. More
detailed location of practice data, and related customized data in relation to
locale, is published in the separately available Regional Reports and is
available upon request.

      In compiling this report, an invaluable contribution was made by
members of the National Association of Consumer Advocates and
Consumer Law attorneys across the United States and its territories who
were invited to participate during 2010.

      Information was collected for individual data as of end of year 2010.
As previously, an on-line survey service was utilized to gather and tabulate
the results with safeguards in place to limit data input per survey
participant to one region.

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      Similar studies were undertaken annually since 1999. The objective of
these studies was to determine the demographics of Consumer Law
practitioners, including attorney hourly billing rate, firm size, years in
practice, concentration of practice, primary and secondary practice area
prevalence, paralegal billing rates and other data.

      The collected information has been condensed into this national
reference to provide benchmarks to assist Consumer Law attorneys as they
manage their practice.

      Because of the still-increasing involvement of paralegals and law
clerks in non-administrative day to day aspects of legal practice, data is also
compiled on regional paralegal hourly rates.

      The data is reported in several tables below, allowing the reader to
consider the data from several viewpoints of selected factors or criteria. In
addition, more detailed regional data with explanatory charts is available in
the twelve separately published Regional Survey Reports, available on
request.



                                Error Rate
      A hand review conducted of all data received during this survey was
compared with the data reported in the previous survey. The results
indicated an error rate of less than one percent, a number substantially
lower than the error rate of most surveys.


                              Methodology
      Survey results are based on the results of an on-line survey fielded
during 2010 and consisting of 9 key data questions. The survey was
administered via email, ordinary mail, facsimile and telephonic invitations
to a confidential, web-based questionnaire.

      The entire active membership of the National Association of

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 Consumer Advocates (except for persons employed in public employment
 or education) along with other known Consumer Law practitioners from
 around the United States and its territories was surveyed.

        Invitations to participate were also randomly sent to attorneys
 disclosed through internet search engine results conducted on a national
 level as well as randomly selected physical telephone book specialty listings
 where available. Invitations to participate were also randomly sent to
 attorneys identified through court filings in various jurisdictions and bar
 association directories where available.

      To help practitioners understand and interpret the data below, a brief
 explanation of the data may help.



                       Section 508 Compliance
       The United States Consumer Law Attorney Fee Survey is the only
 online survey program that is Section 508 Certified. This means that the
 survey program on which this survey runs meets all current US Federal
 Section 508 certification guidelines.

        Section 508 is a Federal law that outlines the requirements to make
 online information and services accessible to users with disabilities. The
 government web site that outlines the requirements and helpful links
 regarding section 508 is located on the internet at this page:
 http://www.section508.gov/. All Federal agencies are required to use 508
 certified software and technologies when available.

       The Voluntary Product Accessibility Template, or VPAT?s purpose, is
 to assist Federal contracting officials and other buyers in making
 preliminary assessments regarding the availability of commercial
 "Electronic and Information Technology" products and services with
 features that support accessibility. The VPAT was developed by the
 Information Technology Industry Council (ITI) in partnership with the U.S.
 General Services Administration (GSA).

       Use of the VPAT means that this survey is built on programming that

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 includes a text element for every non-text element of the survey web page,
 web pages are designed so that all information displayed with color is also
 available without color, all parts of the survey are readable without having
 to open another window, and other techniques to enable disabled persons
 to fully participate in every aspect of the Fee Survey.

       It is important for the Fee Survey to be able to reach the broadest
 range of potential respondents possible to provide the reader with the most
 accurate results. By including survey feedback from the disabled
 demographic, the Fee Survey ensures a more representative population is
 able to participate so their economic demographics may be included in the
 Fee Survey results.


     The Average and the Median: What it Means to You
       To help practitioners understand and interpret the data in this report,
 a brief explanation of common data terminology in this report is necessary.

     The tables below use some terms whose meaning may not be clear to
 many Consumer Law practitioners.

      The average (sometimes called the arithmetic average) is calculated
 by adding the values of all responses, then dividing by the number of
 responses.

        Example: Five responses are reported, 3, 4, 6, 8 and 12. The average
 is calculated by adding their values (3 + 4 + 6 + 8 + 12 = 33), then dividing
 by the number of responses (5). Thus, the average is 33 / 5 = 6.6.

        The median has a different meaning. It is the middle value of a series
 of values, which is initially rank-ordered from low to high. By definition,
 half the numbers are greater and half are less than the median. Both mean
 and median values are used in this survey report as a pointer for the central
 area of survey results without regard to the average.

      Statisticians variously agree that using the median as a statistic
 reduces the effect of extreme outer numbers (extremely high or low values,

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 such as 12 in the above example). Using an average takes all numbers into
 accounting.

        Example: Five responses are reported, 3, 4, 6, 8 and 12. The median
 is the middle number of the order of distribution, 6. Note, however, that
 the average of this same distribution of numbers is 6.6.

       The median literally is the value in the middle. It represents the mid
 way point in a sequence of numbers. It is determined by lining up the
 values in the set of data (in this fee survey that would be all of the
 individual fee rate responses logged in the survey) from the smallest on up
 to the largest. The one in the dead-center is the median number.

       The median is not the average of the numbers (you don’t add
 anything) in the list, but merely the center of the list. Some statisticians say
 that using the mean (instead of the average) gives less weight to the
 individual fee rates that are on the outer limits of the survey responses and
 is more likely to direct the survey to the real center of the responses.

       Because the median number is commonly not the same as the
 average number, being either slightly above or below it, we are including
 both results in this year’s survey results.


                         Geographic Areas Defined
       The data has been compiled in twelve geographic regions, including
 several states identified as their own region. This is loosely based on a
 combination of three factors: the long-established Altman-Weil2 regional
 tables, the quantity of Consumer Law attorneys that were readily identified
 as practicing in each state, and the geographic proximity of any one state to
 a nearby overall region.



       2
        Altman Weil, Inc. provides management consulting services exclusively to legal
 organizations. Its clients include law firms, law departments, governmental legal offices
 and legal vendors of all sizes and types throughout North America, the U.K. and abroad.
 The Altman Weil website address is http://www.altmanweil.com/ .

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 Atlantic:         DC, DE, NC, NJ, PA, VA, WV
 California
 Florida
 Mid West:         IA, IL, IN, KS, MI, MN, MO, ND, NE, SD, WI
 New York
 North East:       CT, MA, MD, ME, NH, RI, VT
 Ohio
 Pacific:          AK, HI, OR, WA
 South:            AL, AR, GA, KY, LA, MS, OK, SC, TN
 Texas
 US Territories:   Puerto Rico, Guam, American Samoa, US Virgin Islands
 West:             AZ, CO, ID, MT, NM, NV, UT, WY

       Since this survey work first began in 1999, the states of California,
 Florida, New York, and Ohio have consistently had a larger overall quantity
 of Consumer Law practitioners than other states. For that reason, these
 four states are treated in the national survey report as being their own
 region.

       The national survey report takes a national view of the survey data. A
 separately published report is available on request for each of the 12
 regions in the survey, providing more detailed, specific and slightly
 different survey data with explanatory charts for the reader’s review and
 further analysis.

        In response to requests for even more detailed data, this year’s survey
 added a new question which obtains from each survey participant the
 specific area of the region where each participant maintains their firm
 office. The responsive data enabled an even more localized set of data to be
 generated for geographic areas within each of the 12 regions.


                       Interpreting the Findings
       An hourly rate is commonly impacted by several factors, including
 years of practice, firm size, practice location, degree of practice
 concentration, reputation, advertising, personal client relationships, and
 other factors. As a result, the information presented here is for

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 informational purposes only and may or may not be indicative of a
 particular attorney’s reasonable hourly rate without further, more detailed
 analysis of the available and other data.

       A Summary Profile of the Typical US Consumer Law Attorney is
 presented at the outset of this survey report in order to provide a summary
 profile of the average US Consumer Law attorney and their practice. It may
 be viewed as the average of all survey responses nationwide.

       The National Average Table for All Firms by Region provides an at a
 glance view of the averages for respondents by the 12 survey regions.
 Presented in table format, it allows for quick and easy comparison of key
 data across several regions but is intended to only provide a summary
 statement of the key data and should be considered in tandem with the
 other data reported herein.

        The Average Hourly Rates by Years in Practice Tables by Region
 presents an analysis of the impact that years in practice in Consumer Law
 has on the average attorney hourly rate. Each region has its own table of
 survey results with years in practice being divided in 9 time frames with
 less than one year and more than 31 years bracketing the outer limits at
 each end. One might think that longevity of practice would dictate an
 increasingly higher hourly rate and these tables report survey results that
 tests that assumption and, in some cases, variations are observed. Current
 economic trends outside of this survey test that assumption even further
 but are not considered in this survey.

       The Median and Average Summaries Tables by Region are presented
 to give an overview of the practice of Consumer Law lawyers in each region.
 Note the use of both average and median results in this section, with the
 median used to reduce the effect of extremely high or low values in some
 data. These tables also show the difference in survey results when
 comparing the average hourly rates and the median hourly rates, a factor
 considered by some statisticians to arrive at what they consider to be more
 neutral or accurate survey results.

       Where necessary, insufficient data is represented by a dash mark
 instead of a numerical entry in the column.

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     2. Summary Profile of the Typical US Consumer Law
                          Attorney
      This section summarizes key statistics derived from the survey when
 viewed from a national approach. Emphasis here is on the average
 Consumer Law attorney in the United States without regard for any specific
 survey factor.

       The typical Consumer Law attorney is in a small office of 4 or fewer
 practitioners. Not a single region was dominated by larger firms. The US
 Territories region was the only region that reported 100% employed 4 or
 fewer attorneys. At the other end of the spectrum is New York which
 reported that 59.4% were firms employing 4 or fewer attorneys.

       The typical Consumer Law attorney has been practicing law for 17.3
 years. All regions reported in the range from 14 years to 20.9 years in
 practice.

       15.4% of all Consumer Law attorneys have been in practice less than 5
 years, a decrease from the last survey report’s 19% but still slightly below
 the previous survey report’s 16%.

      The average percentage of more-experienced attorneys (those with 31
 or more years of practice) is 17.25%. However, the region with the largest
 percentage of more-experienced attorneys is the Pacific with 39.5%.

        The average of less-experienced attorneys (those with less than 5
 years of practice) is 15.4%. However, the region with the largest percentage
 of less experienced attorneys is also the Pacific with 5.2%.

      49.2% of all firms reported that their practice consists of 90-100%
 Consumer Law issues. This figure is a dramatic drop from the last survey
 when 82.7% was the level reporting their practice to fall in the 90-100%
 range of Consumer Law.

       The average Consumer Law practice is still supplemented in largest
 part by Bankruptcy work (10 of the 12 regions in the survey), as it has been
 for several years. In the US Territories Region, however, Bankruptcy work

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 is reported as the largest area of the practice with other general Consumer
 Law work ranking in second place.

       The typical Consumer Law firm employs 1 paralegal (1.7 to be precise)
 whose hourly billable rate averages $95.8. In the last survey report, the
 typical Consumer Law firm employed 1 paralegal but the hourly billable
 rate was $96, which was itself a slight increase from the previous survey’s
 $93.25.

       The average hourly rate for the typical Consumer Law attorney
 (regardless of all other factors) is $304, down very slightly from the last
 survey report’s of $305, which was itself a drop of the prior report of $307.

       The median Attorney hourly rate is $300, up from last year’s $293
 and still below the preceding survey’s report of $308.

       The median 25% Attorney hourly rate (the point at which 25% of all
 survey participants reported an hourly rate lower than this number) is
 $241, compared to $240 in the last survey. The median 75% Attorney
 hourly rate is $355, compared to $365 in the last survey.

       The median 95% Attorney hourly rate is $480, compared to $443 in
 the last survey.

       The typical Consumer Law firm lawyer has not changed their hourly
 rate in the last 15.6 months. In the last survey it was an average of 17
 months since the hourly rate had been changed in the average firm.




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                      3. National Average Table for All Firms by Region
      This Table does not take into consideration the factors of the degree of concentration or years of
practice, among other things, all of which will have a large impact on any particular person’s hourly rate.

   Region:      % of Total     Small       Large     Small Firm     Large Firm     Small Firm     Large Firm
                 Survey      Firm % of   Firm % of    Average        Average        Average        Average
                Responses     Region      Region      Attorney       Attorney       Paralegal      Paralegal
                From This       (<5)        (>5)     Rate In this   Rate In this   Rate In this   Rate In this
                 Region:                               Region         Region         Region         Region

   Atlantic
 (DC DE NC
                   15.0        68.6        31.4           350           342            128            130
  NJ PA VA
    WV)

  California       10.7        75.7        24.3           350           453            121            153

   Florida         6.7         80.9        19.1           312          340             102            96

 Mid West
  (IA IL IN
 KS MI MN          20.1        75.2        24.8           284           381            81             125
 MO ND NE
   SD WI)

  New York         4.6         59.4        40.6           323          309             96             110




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 Region:       % of Total     Small       Large     Small Firm     Large Firm     Small Firm     Large Firm
                Survey      Firm % of   Firm % of    Average        Average        Average        Average
               Responses     Region      Region      Attorney       Attorney       Paralegal      Paralegal
               From This       (<5)        (>5)     Rate In this   Rate In this   Rate In this   Rate In this
                Region:                               Region         Region         Region         Region

North East
 (CT MA
                  5.9         73.2        26.8           285           382            95             130
MD ME NH
  RI VT)

   Ohio           7.4         69.2        30.8           258           282            90             102

  Pacific
(AK HI OR         5.4          71.1       28.9           281           356            105            107
   WA)

  South
(AL AR GA
                  10.4        89.2        10.8           265           283            85             102
KY LA MS
OK SC TN)

  Texas           4.9         85.3        14.7           319           327            77             87

   US
                  3.3          100          0            175            -             53              -
Territories

  West
(AZ CO ID
                   5.1        80.6        19.4           300          230             94             75
MT NM NV
 UT WY)

                                                    13
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       4. State Percentage Change Table, 2000 thru 2011
       The purpose of this table is to provide a historical perspective on the
 average hourly rates reported by small and large firms in the United States
 and its Territories since these Survey Reports began with the first report
 published in year 2000. This table also provides the only state-specific data
 for every state in the survey.

       This table reflects the state by state changes in hourly rate fee
 averages spanning back to year 2000, the first year of this Survey Report
 which was based on data compilation that began in 1999. This table shows
 the increases and decreases in hourly rates as a percentage of change from
 current to oldest data. For instance, if the average hourly rate for a small
 firm in a given state was $200 in year 2000 and current data showed it to
 be $300, then the percentage column would indicate a change of 150%.

       In all cases the data goes back as far as possible to establish a baseline
 to draw comparisons for the percentage of change calculations made below
 but in a few cases the data may not go back to the report issued in year
 2000 because of lack of data; in that event the percentage change is a
 contrast of the oldest data available with year 2009 data.

       For the Baseline columns in this chart, the regional data is used
 where a state is a part of a region since state specific data only became
 available in 2010.

       For the 2011 Data columns in this chart, the data is the average of all
 data obtained for each particular state. Where state data only existed for
 either a small firm or a large firm, but not both, the data appears in this
 table for both.

      The percentage of 2000 Data column represents the change that has
 occurred for that state since the oldest data available (i.e., for Alabama, the
 Small Firm rate has increased 167.6% since 2000, from $170 to $285).

       The Small Firm and Large Firm definitions in this table are the same
 as those used throughout this Survey Report, i.e., a “small firm” has 4 or
 fewer attorneys and a “large firm” has five or more attorneys.

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 U.S. State    Baseline 2011 Baseline 2011 % of 2000 % of 2000
               Sm Firm Data Lg Firm Data       Data    Data
                (2000) Sm Firm (2000) Lg Firm Sm Firm Lg Firm
 Alabama          170    285     225    306     168     136
 Alaska           137    229     175    229     167     131
 Arizona          137    330     175    300     241     171
 Arkansas         169    212     238    212     125      89
 California       212    350     300    453     165     151
 Colorado         137    312     175    312     228     178
 Connecticut      192    417     238    417     217     175
 Delaware         192    362     238    312     189     131
 Florida          170    312     225    340     184     151
 Georgia          170    327     225    327     192     145
 Hawaii           137    327     175    370     239     211
 Idaho            137    300     175    230     219     131
 Illinois         177    376     197    458     212     232
 Indiana          177    293     197    337     166     171
 Iowa             150    262     300    262     175      87
 Kansas           150    262     300    262     175      87
 Kentucky         170    230     225    230     135     102
 Louisiana        169    275     238    275     163     116
 Maine            192    227     238    187     118      79
 Maryland         192    366     238    300     191     126
 Massachusetts    192    255     238    437     133     184
 Michigan         177    272     197    250     154     127
 Minnesota        170    258     300    357     152     119
 Mississippi      150    212     225    212     141      94
 Missouri         137    330     300    250     241      83
 Montana          150    187     175    187     125     107
 Nebraska         137    284     300    381     207     127
 Nevada           192    362     175    362     189     207
 New              192    387     238    387     202     163
 Hampshire
 New Jersey       137    365     238    365     266     153
 New Mexico       192    368     175    368     192     210
 New York         170    323     238    309     190     130
 No. Carolina     150    266     225    275     177     122
 No. Dakota       177    162     300    162      92      54
 Ohio             169    258     197    282     153     143
 Oklahoma         137    240     238    240     175     101
                                      15
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 Oregon             192      275       175      357        143        204
 Pennsylvania       192      361       238      345        188        145
 Rhode Island       170      262       238      262        154        110
 So Carolina        170      254       225      262        149        116
 So Dakota          150      262       300      262        175         87
 Tennessee          170      262       225      262        154        116
 Texas              169      319       238      327        189        137
 Utah               137      225       175      312        164        178
 Vermont            192      195       238      195        102         82
 Virginia           170      376       225      225        221        100
 Washington         137      255       175      287        186        164
 Washington DC      192      287       238      478        149        201
 West Virginia      192      275       238      293        143        123
 Wisconsin          177      306       197      287        173        146
 Wyoming            137      187       175      187        136        107
 US Territories     185      175       200      175         95         88




                                      16
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    5. Average Hourly Rates by Years in Practice Tables by
                          Region
      These regional tables are intended to provide the reader with a quick
 and easy way of determining the average hourly rates for an attorney as
 measured simply by years in practice.

       Of course, the years in practice of an attorney is often deemed related
 to the experience level of an attorney and is also one of the traditional ways
 of determining the reasonableness of a particular attorney’s hourly rate.

       It should be noted, however, that this factor is not a sufficient basis,
 by itself, to consider a particular hourly rate to be reasonable in a particular
 case. Other factors also relate to the determination of a reasonable hourly
 rate in a particular case.




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                         Atlantic Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                               -
                    1-3                              229
                    3-5                              234
                    6 - 10                           338
                   11 - 15                           329
                   16 - 20                           373
                   21 - 25                           390
                   26 - 30                           389
                     >31                             421




                                      18
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                       California Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                             287
                      1-3                            237
                     3-5                             347
                     6-10                            387
                    11-15                            378
                    16-20                            419
                    21-25                            470
                    26-30                            525
                     >31                             465




                                      19
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                           Florida Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                             162
                    1-3                              237
                    3-5                              320
                    6 - 10                           287
                   11 - 15                           315
                   16 - 20                           350
                   21 - 25                           356
                   26 - 30                           343
                     >31                             425




                                      20
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                        Mid West Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                             275
                    1-3                              287
                    3-5                              263
                    6 - 10                           318
                   11 - 15                           430
                   16 - 20                           341
                   21 - 25                           362
                   26 - 30                           329
                     >31                             275




                                      21
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                        New York Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                              212
                     1-3                             204
                     3-5                             293
                    6 - 10                           225
                    11 - 15                          385
                   16 - 20                            312
                   21 - 25                           456
                   26 - 30                            237
                     >31                              447




                                      22
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                       North East Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                               -
                     1-3                              175
                     3-5                              212
                    6 - 10                           262
                    11 - 15                          345
                   16 - 20                            279
                   21 - 25                           366
                   26 - 30                            353
                     >31                              391




                                      23
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                           Ohio Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                               -
                     1-3                              162
                     3-5                              217
                    6 - 10                           222
                    11 - 15                          243
                   16 - 20                           323
                   21 - 25                           287
                   26 - 30                            247
                     >31                              321




                                      24
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                           Pacific Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                             162
                    1-3                                -
                    3-5                              212
                    6 - 10                           244
                   11 - 15                           257
                   16 - 20                           270
                   21 - 25                           381
                   26 - 30                           287
                     >31                             350




                                      25
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                           South Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                               -
                    1-3                              220
                    3-5                              175
                    6 - 10                           241
                   11 - 15                           295
                   16 - 20                           375
                   21 - 25                           324
                   26 - 30                           272
                     >31                             270




                                      26
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                           Texas Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                              175
                     1-3                              312
                     3-5                             300
                    6 - 10                            312
                    11 - 15                           279
                   16 - 20                            316
                   21 - 25                           287
                   26 - 30                           330
                     >31                              351




                                      27
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                     US Territories Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                              50
                     1-3                              162
                     3-5                              212
                    6 - 10                            181
                    11 - 15                           160
                   16 - 20                            172
                   21 - 25                           200
                   26 - 30                           262
                     >31                             200




                                      28
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                           West Region Firms


           Years Practicing                Average Attorney
           Consumer Law                      Hourly Rate
                      <1                               -
                     1-3                             225
                     3-5                               -
                    6 - 10                           262
                    11 - 15                          223
                   16 - 20                            316
                   21 - 25                           304
                   26 - 30                           362
                     >31                              337




                                      29
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        6. Median & Average Summary Tables by Region
                            Explanation of Tables
  Firm Size                    <5 means fewer than 5 attorneys in the law firm.
                               >5 means 5 or more attorneys in the law firm.
  Median Years in Practice     The median number of years that all attorneys in
                               this region have been in practice.
  Concentration of Practice    The largest percentage group, expressed as a
  in Consumer Law              percentage, ranges are avoided where possible in
                               preference to a specific result.
  Primary Practice Area        The area comprising the largest percentage of the
                               practice work.
  Secondary Practice Area      The largest practice area outside of Consumer
                               Law. Where no one area dominates a dash is
                               entered in the table.
  Median Number of             The median number resulting from all survey
  Paralegals in Firm           responses.
  Last Time Rate Change        The median number, expressed in months.
  Occurred (months)
  Median Paralegal Rate for    Expressed in dollars, ranges are avoided where
  All Paralegals               possible in preference to a specific result.
  Average Attorney Rate for    Expressed in dollars, ranges are avoided where
  All Attorneys                possible in preference to a specific result. Note
                               that this is not the median.”
  25% Median Attorney Rate     25% of all survey responses are below this
  for All Attorneys            number, expressed in dollars.
  Median Attorney Rate for     Half of all survey responses are above this number
  All Attorneys                and half below, expressed in dollars.
  75% Median Attorney Rate     75% of all survey responses are below this
  for All Attorneys            number, expressed in dollars.
  95% Median Attorney Rate     5% of all survey responses are above this number,
  for All Attorneys            expressed in dollars.




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             Atlantic Region

              Firm Size                              <5
              Median Years in Practice               14.7
              Concentration of Practice            90-100
              in Consumer Law
              Primary Practice Area            Consumer Law
              Secondary Practice Area            Bankruptcy
              Number of Paralegals in                 2
              Firm
              Last Time Rate Change                 14.8
              Occurred (months)
              Median Paralegal Rate for              137
              All Paralegals
              Average Attorney Rate for              347
              All Attorneys
              25% Median Attorney Rate               275
              for All Attorneys
              Median Attorney Rate for               350
              All Attorneys
              75% Median Attorney Rate               412
              for All Attorneys
              95% Median Attorney Rate               537
              for All Attorneys




                                        31
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             California Region

              Firm Size                                 <5
              Median Years in Practice                  13
              Concentration of Practice in           90-100
              Consumer Law
              Primary Practice Area               Consumer Law
              Secondary Practice Area              Bankruptcy
              Median Number of Paralegals in             1
              Firm
              Last Time Rate Change                     12
              Occurred (months)
              Median Paralegal Rate for All            137
              Paralegals
              Average Attorney Rate for All            406
              Attorneys
              25% Median Attorney Rate for             362
              All Attorneys
              Median Attorney Rate for All             412
              Attorneys
              75% Median Attorney Rate for             487
              All Attorneys
              95% Median Attorney Rate for             587
              All Attorneys




                                      32
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             Florida Region

              Firm Size                            <5
              Median Years in                       14
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.8
              Firm
              Last Time Rate Change                15.3
              Occurred (months)
              Median Paralegal Rate                 75
              for All Paralegals
              Average Attorney Rate                317
              for All Attorneys
              25% Median Attorney                  250
              Rate for All Attorneys
              Median Attorney Rate                 317
              for All Attorneys
              75% Median Attorney                  374
              Rate for All Attorneys
              95% Median Attorney                  450
              Rate for All Attorneys




                                       33
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             Mid West Region

              Firm Size                            <5
              Median Years in                      18
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.7
              Firm
              Last Time Rate Change                13
              Occurred (months)
              Median Paralegal Rate                112
              for All Paralegals
              Average Attorney Rate               276
              for All Attorneys
              25% Median Attorney                  250
              Rate for All Attorneys
              Median Attorney Rate                 300
              for All Attorneys
              75% Median Attorney                  375
              Rate for All Attorneys
              95% Median Attorney                  550
              Rate for All Attorneys




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             New York Region

              Firm Size                            <5
              Median Years in                      14.1
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice                  Other
              Area
              Number of Paralegals in               2
              Firm
              Last Time Rate Change                 14
              Occurred (months)
              Median Paralegal Rate                100
              for All Paralegals
              Average Attorney Rate                262
              for All Attorneys
              25% Median Attorney                  249
              Rate for All Attorneys
              Median Attorney Rate                 300
              for All Attorneys
              75% Median Attorney                  362
              Rate for All Attorneys
              95% Median Attorney                  575
              Rate for All Attorneys




                                       35
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             North East Region

              Firm Size                            <5
              Median Years in                     17.7
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice             Bankruptcy
              Area
              Number of Paralegals in              1.1
              Firm
              Last Time Rate Change               15.3
              Occurred (months)
              Median Paralegal Rate                112
              for All Paralegals
              Average Attorney Rate                311
              for All Attorneys
              25% Median Attorney                  212
              Rate for All Attorneys
              Median Attorney Rate                 287
              for All Attorneys
              75% Median Attorney                  387
              Rate for All Attorneys
              95% Median Attorney                  575
              Rate for All Attorneys




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             Ohio Region

              Firm Size                            <5
              Median Years in                      19
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.6
              Firm
              Last Time Rate Change               16.4
              Occurred (months)
              Median Paralegal Rate                98
              for All Paralegals
              Average Attorney Rate                264
              for All Attorneys
              25% Median Attorney                  212
              Rate for All Attorneys
              Median Attorney Rate                 250
              for All Attorneys
              75% Median Attorney                  312
              Rate for All Attorneys
              95% Median Attorney                  437
              Rate for All Attorneys




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             Pacific Region

              Firm Size                            <5
              Median Years in                     20.8
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.9
              Firm
              Last Time Rate Change                16.8
              Occurred (months)
              Median Paralegal Rate                100
              for All Paralegals
              Average Attorney Rate                303
              for All Attorneys
              25% Median Attorney                  250
              Rate for All Attorneys
              Median Attorney Rate                 300
              for All Attorneys
              75% Median Attorney                  350
              Rate for All Attorneys
              95% Median Attorney                  500
              Rate for All Attorneys




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             South Region

              Firm Size                            <5
              Median Years in                      17.6
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.4
              Firm
              Last Time Rate Change                16.5
              Occurred (months)
              Median Paralegal Rate                87
              for All Paralegals
              Average Attorney Rate                267
              for All Attorneys
              25% Median Attorney                  212
              Rate for All Attorneys
              Median Attorney Rate                 262
              for All Attorneys
              75% Median Attorney                  312
              Rate for All Attorneys
              95% Median Attorney                  375
              Rate for All Attorneys




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             Texas Region

              Firm Size                            <5
              Median Years in                      19.1
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice               Bankruptcy
              Area
              Number of Paralegals in              1.3
              Firm
              Last Time Rate Change                14.9
              Occurred (months)
              Median Paralegal Rate                87
              for All Paralegals
              Average Attorney Rate                320
              for All Attorneys
              25% Median Attorney                  275
              Rate for All Attorneys
              Median Attorney Rate                 312
              for All Attorneys
              75% Median Attorney                  375
              Rate for All Attorneys
              95% Median Attorney                  575
              Rate for All Attorneys




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             US Territories Region

              Firm Size                            <5
              Median Years in                      14.9
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area            Bankruptcy
              Secondary Practice              Real Estate &
              Area                           Consumer Law
              Number of Paralegals in              1.4
              Firm
              Last Time Rate Change                20
              Occurred (months)
              Median Paralegal Rate                62
              for All Paralegals
              Average Attorney Rate                175
              for All Attorneys
              25% Median Attorney                  155
              Rate for All Attorneys
              Median Attorney Rate                 162
              for All Attorneys
              75% Median Attorney                  212
              Rate for All Attorneys
              95% Median Attorney                  275
              Rate for All Attorneys




                                        41
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             West Region

              Firm Size                            >5
              Median Years in                      14.6
              Practice
              Concentration of                   90-100
              Practice in Consumer
              Law
              Primary Practice Area          Consumer Law
              Secondary Practice                  Other
              Area
              Number of Paralegals in               3
              Firm
              Last Time Rate Change                15.8
              Occurred (months)
              Median Paralegal Rate                99
              for All Paralegals
              Average Attorney Rate                230
              for All Attorneys
              25% Median Attorney                  180
              Rate for All Attorneys
              Median Attorney Rate                 287
              for All Attorneys
              75% Median Attorney                  312
              Rate for All Attorneys
              95% Median Attorney                  324
              Rate for All Attorneys




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                    7. Regional Summary Profiles

       The regional reports which follow are highlights of the separately
 published data in the Regional Reports, which contain further explanatory
 data, analyses and information particular to each region.

       Each regional analysis below contains a summary profile of the
 typical Consumer Law attorney practice in each region with some
 comparisons with prior survey data.




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              Summary Profile of the Atlantic Region
       This section summarizes key statistics derived from the survey when
 viewed from the Atlantic regional approach. Emphasis here is on the
 average Consumer Law attorney in the Atlantic without regard for any
 specific survey factor.

        The typical Atlantic Consumer Law attorney is in a small office of 4 or
 fewer practitioners (68.6%) and has been practicing law for 14.7 years. This
 is the third year that the years in practice statistic has decreased.

       Although 53.3% of survey participants reported that 90% or more of
 their practice was devoted to Consumer Law, it was a substantial decrease
 from last year’s 72.4% figure, indicating a decrease in the quantity of
 attorneys devoting substantially all their time to the Consumer Law
 practice area.

        78.1% reported that Consumer Law still represented the largest area
 of their practice time although that amount was also a significant decrease
 from last year’s 89.7%. The average Consumer Law attorney in the Atlantic
 Region continues the trend from last year of supplementing their
 Consumer Law practice primarily with Bankruptcy work.

       The average Atlantic Consumer Law firm employs 2 paralegals whose
 median billable hourly rate is $137 and 55% of all Atlantic paralegals have a
 billable hourly rate between $100 and $174. In this region, 24% of
 Consumer Law firms report they employ no paralegal support at all.

       57.2% of all Atlantic Consumer Law attorneys (regardless of all other
 factors) have a billable hourly rate above $325 and the average rate was
 $347, up from last year’s average rate of $336.

        The median Atlantic Attorney hourly rate is $350, a significant
 increase from last year’s $300 but not where it was two years ago (at $412).
 The median 25% Atlantic Attorney hourly rate (the point at which 25% of
 all Atlantic survey participants reported an hourly rate lower than this
 number) is $275. The median 75% Atlantic Attorney hourly rate is $412.
 18.2% of Atlantic survey participants reported an hourly rate higher than
 $425.

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      The typical Atlantic Consumer Law firm lawyer has not changed their
 hourly rate in the last 14.8 months.




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             Summary Profile of the California Region
       This section summarizes key statistics derived from the survey when
 viewed from the California regional approach. Emphasis here is on the
 average Consumer Law attorney in the California without regard for any
 specific survey factor.

       The typical California Consumer Law attorney is in a small office of 4
 or fewer practitioners (75.7%, up from last year’s 63.9%) and has been
 practicing law for 13 years (same result as last year). Although 71.6% of
 survey participants reported that 90% or more of their practice was
 devoted to Consumer Law, 77% reported that Consumer Law represented
 the largest area of their practice time with the practice supplemented in
 largest part by Bankruptcy work, joining a national trend since the last
 survey results were reported.

       The average California Consumer Law firm employs 1 paralegal
 whose median billable hourly rate is $137 (same as last year). 46% of all
 California paralegals have a billable hourly rate between $75 and 149. In
 the last survey 70% of paralegals billed in that range. There has been an
 upward shift in billable paralegal rates, with 18% of California paralegals
 now billing between $150 and $174. In this region, 25% of Consumer Law
 firms report they employ no paralegal support at all.

       84.7% of all California Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate above $325 and the average rate
 was $496, slightly up for each of the last two surveys.

       The median California Attorney hourly rate is $412, up from last
 year’s $362. The median 25% California Attorney hourly rate (the point at
 which 25% of all California survey participants reported an hourly rate
 lower than this number) is $362. The median 75% California Attorney
 hourly rate is $487. Only 27.7%of California survey participants reported
 an hourly rate higher than $475 and 15.3% reported an hourly rate higher
 than $575.

      The typical California Consumer Law firm lawyer changed their
 hourly rate in the last 12 months.


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              Summary Profile of the Florida Region
       This section summarizes key statistics derived from the survey when
 viewed from the Florida regional approach. Emphasis here is on the
 average Consumer Law attorney in the Florida without regard for any
 specific survey factor.

       The typical Florida Consumer Law attorney is in a small office of 4 or
 fewer practitioners (80.9%, an increase from last year’s 70.6%) and has
 been practicing law for 14 years. Although 48.9% of survey participants
 reported that 90% or more of their practice was devoted to Consumer Law,
 57.4% reported that Consumer Law represented the largest area of their
 practice time with the practice supplemented in largest part by Bankruptcy
 work.

       The average Florida Consumer Law firm employs 1.8 paralegals
 whose median billable hourly rate is $75 (down for the second year in a
 row) and 51.6% of all Florida paralegals have a billable hourly rate between
 $75 and $99. Notably Florida firms also employ the highest percentage of
 paralegal support, with just 17% of Consumer Law firms having no
 paralegal support at all.

       44.4% of all Florida Consumer Law attorneys (regardless of all other
 factors) have a billable hourly rate above $325 and the average rate was
 $317, nearly the same as last year’s average rate of $320.

       The median Florida Attorney hourly rate is $317, up from last year’s
 reported $287. The median 25% Florida Attorney hourly rate (the point at
 which 25% of all Florida survey participants reported an hourly rate lower
 than this number) is $250. The median 75% Florida Attorney hourly rate is
 $374 (same as last year). Only 8.8% of Florida survey participants reported
 an hourly rate higher than $425.

      The typical Florida Consumer Law firm lawyer has not changed their
 hourly rate in the last 15.3 months.




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             Summary Profile of the Mid West Region
       This section summarizes key statistics derived from the survey when
 viewed from the Mid West regional approach. Emphasis here is on the
 average Consumer Law attorney in the Mid West without regard for any
 specific survey factor.

       The typical Mid West Consumer Law attorney is in a small office of 4
 or fewer practitioners (75.2%, about the same as last year) and has been
 practicing law for 18 years. Although 53.1% of survey participants reported
 that 90% or more of their practice was devoted to Consumer Law, 61.4%
 reported that Consumer Law represented the largest area of their practice
 time with the practice supplemented in largest part by Bankruptcy work.

       Although 25.5% of Mid West Consumer Law firms employ no
 paralegal support, the average firm employs 1.7 paralegals whose median
 billable hourly rate is $112 (up from last year’s $105) and 60.6% of all Mid
 West paralegals have a billable hourly rate between $75 and 149 (again an
 increase from last year). In this region, 26% of Consumer Law firms report
 they employ no paralegal support at all.

       51.8% of all Mid West Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate between $200 and $324 and the
 average rate was $276, down from last year’s average rate of $293.

        The median Mid West Attorney hourly rate is $300, up from $262
 last year). The median 25% Mid West Attorney hourly rate (the point at
 which 25% of all Mid West survey participants reported an hourly rate
 lower than this number) is $250. The median 75% Mid West Attorney
 hourly rate is $375. Only 9% of Mid West survey participants reported an
 hourly rate higher than $500.

       The typical Mid West Consumer Law firm lawyer has not changed
 their hourly rate in the last 13 months.




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             Summary Profile of the New York Region
       This section summarizes key statistics derived from the survey when
 viewed from the New York regional approach. Emphasis here is on the
 average Consumer Law attorney in the New York without regard for any
 specific survey factor.

       The typical New York Consumer Law attorney is in a small office of 4
 or fewer practitioners (59.4%, a decrease from last year’s 87.5%) and has
 been practicing law for 14.1 years (a substantial drop from last year’s 32
 years of practice). Although 40.6% of survey participants reported that 90%
 or more of their practice was devoted to Consumer Law, 62.5% reported
 that Consumer Law represented the largest area of their practice time with
 the practice supplemented in largest part by “Other” work.

       The average New York Consumer Law firm employs 2 paralegals
 whose median billable hourly rate is $100 (up from last year’s $82 rate)
 and 76.2% of all New York paralegals have a billable hourly rate between
 $75 and 124. In the New York region, 22% of the firms report using no
 paralegal support at all.

       47.8% of all New York Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate above $325 but the average rate
 was $262, down substantially from last year’s average rate of $386.

       The median New York Attorney hourly rate is $300, down from last
 year’s median of $387. The median 25% New York Attorney hourly rate
 (the point at which 25% of all New York survey participants reported an
 hourly rate lower than this number) is $249. The median 75% New York
 Attorney hourly rate is $362. 14.8% of New York survey participants
 reported an hourly rate higher than $425.

      New York Consumer Law firm lawyers made their last hourly rate
 change in the last 14 months.




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            Summary Profile of the North East Region
       This section summarizes key statistics derived from the survey when
 viewed from the North East regional approach. Emphasis here is on the
 average Consumer Law attorney in the North East without regard for any
 specific survey factor.

       The typical North East Consumer Law attorney is in a small office of 4
 or fewer practitioners (73.2%, only a slight increase from last year’s 71.4%)
 and has been practicing law for 17.7 years (down from last year’s 20 years
 of practice). Although 53.7% of survey participants reported that 90% or
 more of their practice was devoted to Consumer Law, 68.3% reported that
 Consumer Law represented the largest area of their practice time with the
 practice supplemented in largest part by General Practice work.

       The average North East Consumer Law firm employs 1.1 paralegals
 whose median billable hourly rate is $112. Although 43.1% of firms in this
 region report no paralegal support at all, 59% of the firms using paralegals
 have a billable hourly rate greater than $100. In this region, 34% of
 Consumer Law firms report they employ no paralegal support at all.

       39.5% of all North East Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate above $325 and the average rate
 was $311, down slightly from last year’s average rate of $330.

       The median North East Attorney hourly rate is $287, down from last
 year’s $337. The median 25% North East Attorney hourly rate (the point at
 which 25% of all North East survey participants reported an hourly rate
 lower than this number) is $212. The median 75% North East Attorney
 hourly rate is $387, but 10.5% of North East survey participants reported
 an hourly rate higher than $475.

       The typical North East Consumer Law firm lawyer has not changed
 their hourly rate in the last 15.3 months.




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                Summary Profile of the Ohio Region
       This section summarizes key statistics derived from the survey when
 viewed from the Ohio regional approach. Emphasis here is on the average
 Consumer Law attorney in Ohio without regard for any specific survey
 factor.

       The typical Ohio Consumer Law attorney is in a small office of 4 or
 fewer practitioners (69.2%, a decrease from last year) and has been
 practicing law for 19 years. Although 36.5% of survey participants reported
 that 90% or more of their practice was devoted to Consumer Law, 44.2%
 reported that Consumer Law represented the largest area of their practice
 time with the practice supplemented in largest part by Bankrupty work.

       Although 23% of Ohio Consumer Law firms employ no paralegal
 support, the average firm employs 1.6 paralegals whose median billable
 hourly rate is $98 and 71.4% of all Ohio paralegals have a billable hourly
 rate between $50 and 124.

       44% of all Ohio Consumer Law attorneys (regardless of all other
 factors) have a billable hourly rate between $200 and $274 and the average
 rate was $264, virtually the same as the last survey report of $263.

      The median Ohio Attorney hourly rate is $250. The median 25% Ohio
 Attorney hourly rate (the point at which 25% of all Ohio survey participants
 reported an hourly rate lower than this number) is $212. The median 75%
 Ohio Attorney hourly rate is $312. Only 10% of Ohio survey participants
 reported an hourly rate higher than $400.

      The typical Ohio Consumer Law firm lawyer has not changed their
 hourly rate in the last 16.4 months.




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               Summary Profile of the Pacific Region
       This section summarizes key statistics derived from the survey when
 viewed from the Pacific regional approach. Emphasis here is on the average
 Consumer Law attorney in the Pacific without regard for any specific survey
 factor.

       The typical Pacific Consumer Law attorney is in a small office of 4 or
 fewer practitioners (71.1%, an increase from last year’s 60%) and has been
 practicing law for 20.8 years. 40.5% of all Pacific region Consumer Law
 attorneys have been practicing 31 years or more. Although only 39.5% of
 survey participants reported that 90% or more of their practice was
 devoted to Consumer Law, 52.6% reported that Consumer Law represented
 the largest area of their practice time with the practice supplemented in
 largest part by Bankruptcy work, which seems to be the national trend for
 Consume Law practitioners.

       The average Pacific Consumer Law firm employs 1.9 paralegals whose
 median billable hourly rate is $100 (down slightly from last year’s $106)
 and 92.3% of all Pacific Region paralegals have a billable hourly rate
 between $75 and 149. It is notable that 31.6% of all Consumer Law firms in
 the Pacific Region have no paralegal support.

       31.6% of all Pacific Consumer Law attorneys (regardless of all other
 factors) have a billable hourly rate above $325 and the average rate was
 $303, up from last year’s average rate of $256.

       The median Pacific Attorney hourly rate is $300, up slightly from last
 year’s $262 median. The median 25% Pacific Attorney hourly rate (the
 point at which 25% of all Pacific survey participants reported an hourly rate
 lower than this number) is $2150 compared with $212 in the last survey.
 The median 75% Pacific Attorney hourly rate is $350, compared with $312
 previously. Only 10.5% of Pacific survey participants reported an hourly
 rate higher than $400.

       The typical Pacific Consumer Law firm lawyer changed their hourly
 rate in the last 16.8 months.




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               Summary Profile of the South Region
      This section summarizes key statistics derived from the survey when
 viewed from the South regional approach. Emphasis here is on the average
 Consumer Law attorney in the South Region without regard for any specific
 survey factor.

       The typical South Region Consumer Law attorney is in a small office
 of 4 or fewer practitioners (89.2%, nearly the same as in the last survey
 results) and has been practicing law for 17.6 years (up from last year’s 13
 years of practice but still not up to the 18 years in practice level achieved in
 2007). Although 43.2% of survey participants reported that 90% or more of
 their practice was devoted to Consumer Law, 55.4% reported that
 Consumer Law represented the largest area of their practice time with the
 practice supplemented in largest part by Bankruptcy work.

       The average South Region Consumer Law firm employs 1.4 paralegals
 whose median billable hourly rate is $87 (up from $60 reported in the last
 survey) and 68.3% of all South Region paralegals have a billable rate
 between $50 and $100. Notably, in the South Region 44.6% of Consumer
 Law firms employ no paralegal support, the largest percentage reported by
 any region in this year’s survey.

       69.7% of all South Region Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate above $250 and the average rate
 was $267, up from the last survey results which reported an average rate of
 $248.

       The median South Region Attorney hourly rate is $262, up from last
 year’s median of $237. The median 25% South Region Attorney hourly rate
 (the point at which 25% of all South Region survey participants reported an
 hourly rate lower than this number) is $212. The median 75% South Region
 Attorney hourly rate is $312. Only 4.5% of South Region survey
 participants reported an hourly rate higher than $400. The ceiling for
 reported hourly rates has gone down from last year’s $475.

      The typical South Region Consumer Law firm lawyer changed their
 hourly rate in the last 16.5 months.


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               Summary Profile of the Texas Region
       This section summarizes key statistics derived from the survey when
 viewed from the Texas regional approach. Emphasis here is on the average
 Consumer Law attorney in the Texas without regard for any specific survey
 factor.

       The typical Texas Consumer Law attorney is in a small office of 4 or
 fewer practitioners (85.3% of respondents this year, compared with 100%
 in the last survey) and has been practicing law for 19.1 years. Although
 47.1% of survey participants reported that 90% or more of their practice
 was devoted to Consumer Law, 55.9% reported that Consumer Law
 represented the largest area of their practice time with the practice
 supplemented in largest part by Bankruptcy work.

       The average Texas Consumer Law firm employs 1.3 paralegals whose
 median billable hourly rate is $87 (same for the last two survey reports)
 and 41.7% of all Texas paralegals have a billable hourly rate between $75
 and $124. In the last survey report for this region, nearly the exact same
 percentage of paralegals had a billable rate between $75 and $149,
 indicating a shrinking of the hourly rate has occurred. In this region, 29%
 of Consumer Law firms report they employ no paralegal support at all.

       66.7% of all Texas Consumer Law attorneys (regardless of all other
 factors) have a billable hourly rate above $300 (in the last survey it was
 only 30.8%) and the average hourly rate was $320, up from the last suvey’s
 reported average hourly rate of $305 which was itself up from the prior
 survey report of $296, indicating a steady but small upward trend.

        The median Texas Attorney hourly rate is $312, up from the last
 survey’s reported $287, which was itself up from the prior survey’s
 reported $275. This is another indication of a steady upward trend. The
 median 25% Texas Attorney hourly rate (the point at which 25% of all
 Texas survey participants reported an hourly rate lower than this number)
 is $275. The median 75% Texas Attorney hourly rate is $375. 27.3% of
 Texas survey participants reported an hourly rate higher than $350. In the
 last survey, only 4.3% of all survey participants reported an hourly rate
 higher than $325. This is more evidence of the overall upward trend in this
 region and is a stronger indication than seen in any other of the 12 regions

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 in the national report.

      The typical Texas Consumer Law firm lawyer has not changed their
 hourly rate in the last 14.9 months.




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          Summary Profile of the US Territories Region
      This section summarizes key statistics derived from the survey when
 viewed from the US Territories regional approach. Emphasis here is on the
 average Consumer Law attorney in the US Territories Region without
 regard for any specific survey factor.

       The typical US Territories Region Consumer Law attorney is in a
 small office of 4 or fewer practitioners (100%) and has been practicing law
 for 14.9 years. Although 43.5% of survey participants reported that 90% or
 more of their practice was devoted to Consumer Law, 91.3% reported that
 Bankurptcy work represented the largest area of their practice time with
 the practice supplemented in largest part by Consumer Law work.

       The average US Territories Region Consumer Law firm employs .41
 paralegal whose median billable hourly rate is $62 (down from the last
 survey) and 63.6% of all US Territories Region paralegals have a billable
 hourly rate above $50). In this region, 35% of Consumer Law firms report
 they employ no paralegal support at all.

       43.4% of all US Territories Region Consumer Law attorneys
 (regardless of all other factors) have a billable hourly rate between $175
 and $275. The average rate was $175, down from the last survey’s average
 rate of $275.

       The median US Territories Region Attorney hourly rate is $162, down
 from the last survey. The median 25% US Territories Region Attorney
 hourly rate (the point at which 25% of all US Territories Region survey
 participants reported an hourly rate lower than this number) is $155. The
 median 75% US Territories Region Attorney hourly rate is $212. Only 13%
 of US Territories Region survey participants reported an hourly rate higher
 than $250.

      The typical US Territories Region Consumer Law firm lawyer has not
 changed their ho rly rate in the last 20 months.




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                Summary Profile of the West Region
      This section summarizes key statistics derived from the survey when
 viewed from the West regional approach. Emphasis here is on the average
 Consumer Law attorney in the West Region without regard for any specific
 survey factor.

        The typical West Region Consumer Law attorney is in a small office of
 4 or fewer practitioners (80.6%) and has been practicing law for 14.6 years.
 Although 53.3% of survey participants reported that 90% or more of their
 practice was devoted to Consumer Law, 69.4% reported that Consumer
 Law represented the largest area of their practice time with the practice
 supplemented in largest part by Bankruptcy work.

       The average West Region Consumer Law firm employs 3 paralegals
 whose median billable hourly rate is $99 (down from the last survey report)
 and 47.4% of all West Region paralegals have a billable hourly rate above
 $100). In this region, 30% of Consumer Law firms report they employ no
 paralegal support at all.

       Half of all West Region Consumer Law attorneys (regardless of all
 other factors) have a billable hourly rate between $275 and $325. The
 average rate was $230 (down from last year’s average rate of $275.

        The median West Region Attorney hourly rate is $287, same as the
 last survey report. The median 25% West Region Attorney hourly rate (the
 point at which 25% of all West Region survey participants reported an
 hourly rate lower than this number) is $180. The median 75% West Region
 Attorney hourly rate is $312. 9.6% of West Region survey participants
 reported an hourly rate higher than $375.

       The typical West Region Consumer Law firm lawyer has not changed
 their hourly rate in the last 15.8 months.




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                          8. Survey Techniques
       Surveys are widely considered to be important tools in any evaluation
 process. There are fundamentally two types of surveys: open ended
 questioning and closed ended questioning.

        Open ended questions allow the responder to respond in any manner
 at all with no definite answer. Close ended questions provide a limited
 number of possible answers from which a response can be chosen by the
 responder. Because open ended questions allow for an unlimited response,
 they can lead to a subjective analysis and the results are almost always
 more difficult to interpret and quantify for analysis.

        Close ended questions, however, lend their responses to easy
 statistical analysis.

       There are five types of close ended questions.

       A Likert-scale question allows for responses on a scale and allows a
 responder to state their feelings about an issue, such as strongly agree to
 strongly disagree. Multiple choice questions allow the responder to select
 from a finite number of responses. Ordinal questions ask the responder to
 rate things in relation to each other, such as selecting the most important to
 the least important responses about an issue. Categorical questions first
 place the responder in a category and then poses questions based on those
 categories, such as preceding questions with the initial inquiry of whether
 the responder is male or female. Numerical questions are used when the
 answer must be a real number.

       Different types of questions are used in survey work so that different
 types of results analyses may be conducted, but the most common survey
 techniques are the numerical and the multiple choice question because of
 the ease with which conclusions may be derived from the raw data.

       This survey used numerical questions and one multiple choice
 question. This allows for precise responses that can readily be cataloged
 and statistically interpreted.




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              9. Cases Employing Use of Survey Data
       Courts frequently consider and use survey data in decision making
 involving fee disputes, finding it an economical and impartial means of
 determining contested fee issues.

       Cases using the US Consumer Law Attorney Fee Survey Report
 when deciding attorney fee disputes in Consumer Law cases include the
 following.

       Decker v. Transworld Systems, Inc., 2009 WL 2916819,
 N.D.Ill.,2009., September 01, 2009 (finding results in the 2007 United
 States Consumer Law Attorney Fee Survey Report to be supported by the
 Laffey Matrix”).

      Krapf v Nationwide Credit, Inc., 2010 WL 4261444, C.D. Cal.,
 October 21, 2010.

       LaFountain, Jr v. Paul Benton Motors of North Carolina, LLC, 2010
 WL 4457057, ED NC, November 5, 2010 (Senior US District Judge James
 C. Fox specifically finds the US Consumer Law Attorney Fee Survey
 Report to be persuasive, after rejecting the National Law Journal’s fee
 survey and the US Attorney’s Laffey Matrix as unpersuasive in consumer
 law cases: “The court does, however, find the evidence in the United States
 Consumer Law Attorney Fee Survey to be persuasive”).

      Livingston v. Cavalry Portfolio Services, LLC, 2009 WL 4724268,
 N.D.Ohio,2009., December 02, 2009.

       Paris v Regent Asset Management Solutions, Inc., 2010 WL 3910212,
 S.D. Ohio, October 5, 2010.

      Renninger v Phillips & Cohen Associates, Ltd, 2010 WL 3259417,
 M.D. Fla., August 18, 2010.

      Sandin v. United Collection Bureau, Inc., 2009 WL 2500408,
 S.D.Fla.,2009., August 14, 2009.

       Savage v NIC, Inc., 2010 WL 2347028, D. Ariz., June 9, 2010.

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      Shelago v. Marshall & Ziolkowski Enterprise, LLC, 2009 WL
 1097534, D.Ariz.,2009., April 22, 2009.

      Suleski v. Bryant Lafayette & Associates, 2010 WL 1904968,
 E.D.Wis.,2010., May 10, 2010 (“However, the United States Consumer Law
 Attorney Fee Survey for 2008-09 for the Midwest and California, see
 www.consumerlaw.org/feesurvey (last visited May 7, 2010), supports the
 reasonableness of the hourly rates sought by counsel in light of their
 experience”).

       Vahidy v. Transworld Systems, Inc., 2009 WL 2916825,
 N.D.Ill.,2009., September 01, 2009 (finding results in the 2007 United
 States Consumer Law Attorney Fee Survey Report to be “supported by the
 Laffey Matrix”).

       Wamsley v. Kemp, 2010 WL 1610734, S.D.Ohio,2010., April 20, 2010
 (using both the national survey and the regional survey reports).


            10. Additional Cases on Use of Survey Data
       Additional considerations in using fee surveys may be relevant to a
 court’s consideration in a particular case, including the following concepts
 drawn from the illustrative cases below.

       The cost of performing a fee survey may be recoverable in some
 instances.

    It is a matter of first impression that a fee applicant would hire another
    attorney to conduct a survey on her behalf. We cannot forget that
    Luessenhop has the burden of proving that her Fee Application is
    based upon prevailing market rates and that she has the right to
    present evidence to support the rate she believes to be prevailing.
    Here, where we are required to weigh the presumptive prevailing
    market rate district wide, further pondering the geographical distance
    and economic disparities between the Plattsburgh and Albany
    communities and Schneider's relatively limited access to those
    attorneys who practice civil rights litigation in Albany, we acknowledge
    that Luessenhop was left with little option but to hire Mishler, an

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    Albany attorney, to conduct a more comprehensive survey on her
    behalf. Luessenhop seeks $787.50 for Mishler's endeavors, which
    appears to be modest. Considering the amount of time this Court spent
    to conduct a similar survey, we do not find this amount to be
    unreasonable and will award it.

    Luessenhop v. Clinton County, N.Y. 558 F.Supp.2d 247, 272
    (N.D.N.Y.,2008).

       While different attorney fee surveys may exist for the Court’s
 consideration, the question may be which “fee survey better served the
 purpose of assessing the skills, experience and reputation of counsel” in a
 particular case. Strohl Systems Group, Inc. v. Fallon, E.D.Pa., 2007, 2007
 WL 4323008.

      Moreover, a fee survey may be approved as probative evidence of the
 reasonableness of an hourly rate. Taylor v. USF-Red Star Express, Inc.,
 2005 WL 555371, E.D.Pa., 2005, March 8, 2005.

       However, the results of an attorney fee survey may be merely a
 starting point, a piece of evidence that still should be shown to apply in a
 particular case. See, Ray v. Secretary of Dept. Of Health and Human
 Services, 2006 WL 1006587, Fed.Cl., 2006, March 30, 2006.




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          11. Recommendations for Future Survey Data
       As always, we welcome your suggestions for improvements to the survey as
 we continue to gather useful information for Consumer Law practitioners in the
 future. Please email your suggestions to Ron@TheLawCoach.com or you may
 mail them to Ronald L. Burdge, Esq., 2299 Miamisburg Centerville Road, Dayton,
 Ohio 45459-3817.
                                       Ronald L. Burdge, Editor


                                    About the Editor

       Ronald L. Burdge is the founder of Burdge Law Office Co LPA in Dayton,
 Ohio. Mr. Burdge is in private practice in Ohio, Kentucky and Indiana and
 elsewhere by pro hac admission, and is a nationally known Consumer Law
 attorney. For over a decade, Mr. Burdge has testified as an expert witness on
 Consumer Law and Attorney Fee issues in numerous state and federal courts. He
 is a member of the Total Practice Management Association.

        He has authored numerous articles and lectured widely on Attorney Fee
 issues and Consumer Law and Consumer Trial Practice, and is a member of the
 American Society of Legal Writers and the Legal Writing Institute. Mr. Burdge
 has also lectured widely at national and state Consumer Protection Law seminars
 before attorneys, judges, and both public and business groups, and has testified
 before the Ohio Legislature and its committees on Consumer Law issues.

        He has served as Board Examiner for the National Board of Trial Advocacy
 and has extensive Consumer Law trial and appellate experience in individual and
 class action cases involving lenders, retail sales practices, defective products, and
 warranty litigation. Since 2004, he remains the only Consumer Law attorney in
 Ohio who has been named to Ohio Super Lawyer status by Law & Politics
 Magazine and Thomson Reuters, and whose practice is entirely devoted to
 Consumer Law work for consumers only. Thomson Reuters is the world’s leading
 source of intelligent information for businesses and professionals In 2004, he was
 named Trial Lawyer of the Year by the National Association of Consumer
 Advocates and in 2010 he was elected to the Board of the National Association of
 Consumer Advocates.


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